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                   EXHIBIT 2
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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

  AMERICAN ASSOCIATIONS OF
  UNIVERSTIY PROFESSORS, ET AL.,

                                           Plaintiffs,   No. 1:25-cv-10685-WGY
  v.

  MARCO RUBIO, in his official capacity as
  Secretary of State, and the DEPARTMENT OF
  STATE, ET AL.,

                                         Defendants.

            DEFENDANTS’ OBJECTIONS AND RESPONSES TO PLAINTIFFS’
                FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

        COME NOW Defendants Marco Rubio, in his official capacity as Secretary of State; the

Department of State (“DOS”); Kristi Noem, in her official capacity as Secretary of Homeland

Security; the Department of Homeland Security (“DHS”); Todd Lyons, in his official capacity as

Acting Director of U.S. Immigration and Customs Enforcement (“ICE”); Donald J. Trump,

President of the United States; and the United States of America (collectively, “Defendants”), by

and through counsel, and provide the following responses to Plaintiffs’ First Requests for

Production of Documents, subject to the accompanying objections, without waiving and expressly

preserving all objections. Defendants’ objections are based on information known to Defendants at

this time and are made without prejudice to additional objections should Defendants subsequently

identify additional grounds for objection. Defendants also submit these responses subject to: (a)

any objections as to competency, relevancy, materiality, privilege, and admissibility of any of these

responses; and (b) the right to object to other discovery procedures involving and relating to the

subject matter of the requests herein.



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          OBJECTIONS THAT APPLY TO ALL REQUESTS FOR PRODUCTION

        Defendants object to these discovery requests to the extent that they seek (a) attorney work

product, trial preparation material, or communications protected by the attorney-client privilege,

(b) information protected by the deliberative-process privilege, the joint defense privilege, common

interest privilege or law enforcement privilege; (c) material the disclosure of which would violate

legitimate privacy interests and expectations of persons not party to this litigation; (d) information

that exceeds the scope of discovery authorized by the Court in the hearings of May 6, 2025 and

June 2, 2025, and/or (e) any applicable privilege.

        Defendants object to the discovery requests to the extent they call for production of

documents that are either not relevant to a claim or defense of any party or not proportional to the

needs of the case, considering the importance of the issues at stake in the action, the parties’

relative access to relevant information, the parties’ resources, the importance of the discovery in

resolving the issues, and whether the burden or expense of the proposed discovery outweighs its

likely benefit.

        Defendants object to the discovery request to the extent they call for documents that are

publicly available, are already in the custody or control of Plaintiffs or Plaintiffs’ counsel, are

readily accessible to Plaintiffs, or that would otherwise be less burdensome for Plaintiffs to obtain

than Defendants. See Fed. R. Civ. P. 26(b)(2)(C)(i).

        To the extent Plaintiffs request production of documents concerning Executive Order

14,161 and Executive Order 14,188, Defendants object to the discovery requests as irrelevant to the

resolution of this case given that Plaintiffs have expressly stated that they do not challenge those

Executive Orders in this action. See, e.g., April 23, 2025 Hearing Transcript at 37 (“the government

argues that we haven’t [plausibly alleged a First Amendment claim], largely I think based on this

misassumption that what we’re challenging in this case are the two executive orders that have been


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issued by the President. That’s not what we're challenging, we’re challenging the policy that

defendant agencies have adopted to implement those executive orders.”).

        Defendants object to the discovery requests to the extent they demand that the President

produce responsive documents, as the President is immune from injunctions in civil suits

challenging official action, and given the Court’s ruling that “The President, who is sued in his

official capacity, is not a proper party to this suit at least as to injunctive relief, and is dismissed to

the extent that such relief is sought against him.” Dkt. # 73, n.1.

        Defendants object to the discovery requests to the extent that Plaintiffs seek discovery from

the United States of America, given the Court’s ruling that “The United States of America is

dismissed as a party from this action inasmuch as it is, in the context of this action, the living

embodiment of the Constitution, and the claims for declaratory and injunctive relief against the

Public Officials are in their official capacities. ” Dkt. # 73, n.2.

        Defendants object to any and all discovery requests to the extent they seek production of

documents from non-party agencies and are not in compliance with the Touhy regulations of such

agencies. See 22 C.F.R. part 172; 28 C.F.R. §§ 16.21 - 16.26; 6 C.F.R. §§ 5.41-5.49.

        Defendants construe Plaintiffs’ requests to extend only to unclassified documents.

Defendants can neither confirm nor deny the existence or responsiveness of classified documents,

will not search for them, and will not log them. As used in this paragraph, “classified information”

means classified national security information as defined by Executive Order 13526, § 6.1(i), 75

Fed. Reg. 707, 727 (Dec. 29, 2009). A response that there are no responsive documents means that

there are no unclassified responsive documents.

        Defendants assert attorney-client privilege over all written correspondence to or from an

attorney concerning the subject-matter of this litigation. Such correspondence between Department

of Justice attorneys and other attorneys employed by Defendants will not be logged. Written


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correspondence, other than electronic mail (“email”), between attorneys employed by Defendants

and other employees, subordinates, agents, or officers of Defendants or agencies will be logged, but

not produced.

       Defendants also object to the extent any request seeks information “related to” in

contravention of the Court’s June 10, 2025 Order. Dkt. # 125. Per the Court’s order, Defendants

substitute the term “concerning” for “related to” throughout these responses.

       Each and every response contained herein is subject to the above objections, regardless of

whether a specific objection is interposed in a specific response. The making of a specific objection

in response to a particular request is not intended to constitute a waiver of any other objection not

specifically referenced in the particular response.

       Defendants reserve the right to make further objections as necessary to the extent that

additional issues arise as to the meaning of and/or information sought by discovery. Defendants

reserve the right to amend these responses in accordance with Federal Rule of Civil Procedure

26(e) and any subsequent Court orders in this litigation, and to produce evidence at trial of

subsequently discovered facts. Defendants also reserve the right to amend and supplement these

responses for accuracy and to ensure full compliance with any court orders regarding discovery.




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                       DEFINITIONS AND INSTRUCTIONS

 For ease of reference, Defendants repeat Plaintiffs’ definitions and instructions:

 1. The definitions and instructions provided in Federal Rule of Civil Procedure 34(a) and
    Local Rules 26.5 and 34.1 are incorporated by reference.

 2. Whenever reference is made to a person or legal entity, it includes any and all of such
    person’s or entity’s past and present affiliates, components, subdivisions, offices,
    directors, officers, agents, partners, employees, contractors, consultants, attorneys,
    representatives, investigators, predecessors, successors, assigns and/or any other person
    or entity acting on, or purporting to act on, its behalf.

 3. “Adverse action” means investigating, monitoring, surveilling, revoking the visa or
    lawful permanent residency of, determining the removability of, or seizing, arresting,
    detaining, removing, or transferring to detention facilities in Louisiana.

 4. “And” and “or” shall be construed in the conjunctive or disjunctive as necessary to bring
    within the scope of the Request all responses that might otherwise be construed as
    outside its scope.

 5. “Any” shall be construed to include the word “all” and “all” shall be construed to
    include the word “any.”

 6. “Communication”, as defined in Local Rule 26.5(c), means the transmittal of
    information (in the form of facts, ideas, inquiries, or otherwise).

 7. “Concerning” means, as defined in Local Rule 26.5(c), referring to, describing,
    evidencing or constituting.

 8. “Covered Institution” means the following colleges and universities: Arizona State
    University, Columbia University, Cornell University, Georgetown University, Harvard
    University, Minnesota State University System, Tufts University, University of
    California System, University of Massachusetts System, and University of Texas
    System.

 9. The terms “document” and “documents” mean any and all items referred to as
    “documents” in Federal Rule of Civil Procedure 34 and as “writings” and “recordings”
    in Federal Rule of Evidence 1001. By way of example and without limitation, the terms
    “document” and “documents” include the original, all drafts, and all non-identical
    copies, regardless of origin or location, of the following: notes, correspondence
    (including by letter, by e-mail, or by SMS text message, or by iMessage), internal
    communications, e-mail, ledger books, log books, statements, memoranda, policies,
    procedures, directives, instructions, guidance, summaries of records of conversations,
    reports, video tapes, audio tapes, minutes or records of meetings, summaries of
    interviews or investigations, maps, and photographs. The term “document” shall include
    data stored and organized electronically.


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 10. “Each” shall be construed to include the word “every” and “every” shall be construed to
     include the word “each.”

 11. “Including” shall be construed to include the phrase “without limitation.”

 12. The terms “you” and “your” refer to each of the defendants individually responding to
     these requests.

 13. The term “Targeted Noncitizen Students or Faculty Members” means the following
     individuals:
         a. Mahmoud Khalil;
         b. Mohsen Mahdawi;
         c. Rümeysa Öztürk;
         d. Yunseo Chung;
         e. Efe Ercelik;
         f. Mohammed Hoque;
         g. Ranjani Srinivasan;
         h. Badar Khan Suri; and
         i. Momodou Taal.

 14. To the extent a request calls for the production of documents or things you contend are
     subject to a privilege or immunity from discovery, your written request should so
     indicate, but you are requested to produce the balance of the documents or things not
     subject to a claim of privilege which fall within the scope of the request. Additionally,
     to the extent information subject to a privilege or immunity from discovery is contained
     within responsive documents or things, you are requested to produce a redacted version
     of the document or thing containing the non-privileged information with a notation on
     the produced document or thing indicating that it is being produced in redacted form.

 15. If you are unable to produce any file or document sought in these requests, you shall
     identify the file or document; state the reasons why you are unable to produce it,
     describe in detail the efforts you have made to obtain it, and identify its location and/or
     custodian.

 16. Documents responsive to these requests should be produced in the order in which they
     are ordinarily kept and in a format sufficient to identify the files from which they have
     been taken. Documents from different files should not be intermingled.

 17. Except as otherwise specified, these requests cover the time period January 20, 2025 to
     the present.

 18. These discovery requests are continuing in that they may require supplemental
     responses. If you obtain further information or documents with respect to any request to
     which you have already responded, you have a continuing duty to supplement your
     answer pursuant to Federal Rule of Civil Procedure 26(e) at any time prior to the entry
     of judgment.

 19. For each document or thing requested that you object to producing on the basis of any

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            privilege or immunity from discovery, please provide the following information:
                a. The basis for the privilege being invoked;
                b. The date of the document;
                c. The title of the document (if any);
                d. The name of the person(s) authoring the document;
                e. The name of the person(s) to whom the document and/or copies thereof were
                given or transmitted;
                f. The name of the person(s) from whom the document and/or copies thereof were
                given or transmitted:
                g. The present location and custodian of the document, or any copies thereof; and
                h. The general subject matter dealt with in the document with reasonable specificity
                to allow Plaintiffs to determine whether to challenge the privilege designation.

                    OBJECTIONS TO DEFINITIONS AND INSTRUCTIONS

        To the extent that any definitions or instructions are inconsistent with any Order of the

Court, particularly relating to the limitations on scope of discovery identified by the Court during

the parties’ May 6, 2025 and June 2, 2025 hearings, see May 6, 2025 Hearing Transcript at 19-20,

27-28; June 2, 2025 Hearing Transcript at 31-35, Defendants understand that the Order of the Court

shall prevail.

        For purposes of Definition and Instruction No. 2, Defendants object to this instruction as

overly expansive, irrelevant and beyond the scope of the complaint, as it may extend to entities not

party to this litigation.

        For purposes of Definition and Instruction No. 3, Defendants object to this instruction as

overbroad and encompassing materials wholly irrelevant to this case, and therefore unduly

burdensome and disproportionate to the needs of the case. Defendants object to this definition as it

includes actions that are beyond the scope of ICE authorities or Department of State authorities.

Specifically, ICE does not issue or revoke visas, “terminate status” or “determine removability. ”

Further, “revoking” lawful permanent residency is not a legal term. As applied to ICE, Defendants

construe “adverse action” to mean investigating, arresting, and placing in removal proceedings an

alien who is subject to removal from the United States because that is within the authorities of the

agency. As applied to the Department of State, Defendants construe “adverse action” to mean

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revoking the visa of an alien or making a foreign policy determination supporting removal under 8

U.S.C. § 1227(a)(4)(C) because that is within the Department’s authority.

        Defendants object to Definition and Instruction No. 6 to the extent that is seeks information

that is privileged.

        Defendants object to Definition and Instruction No. 9 to the extent that they exceed the

definitions for “document” and “documents” provided in Federal Rule of Civil Procedure 34 and

Federal Rule of Evidence 1001.

        For purposes of Definition and Instruction No. 11, Defendants object to the extent that

Plaintiffs seek information that is not relevant to any claim or defendant, is overbroad and could

include information outside the scope of the Complaint.

        Defendants object to Definition and Instruction No. 11 to the extent that the “without

limitation” condition is unduly burdensome and could implicate privileged material.

        Defendants object to Definition and Instruction No. 12 to the extent that Plaintiffs seek

discovery from the President, given the Court’s ruling that “The President, who is sued in his

official capacity, is not a proper party to this suit at least as to injunctive relief, and is dismissed to

the extent that such relief is sought against him.” Dkt. # 73, n.1. Furthermore, the potential benefit

of responding to discovery demands is exceedingly slight as compared to the burden of conducting

the search and the intrusion on the Executive.

        Defendants object to Definition and Definition No. 12 to the extent that Plaintiffs seek

discovery from the United States of America, given the Court’s ruling that “The United States of

America is dismissed as a party from this action inasmuch as it is, in the context of this action, the

living embodiment of the Constitution, and the claims for declaratory and injunctive relief against

the Public Officials are in their official capacities. ” Dkt. # 73, n.2.

        For purposes of Definition and Instruction No. 13, Defendants object to the inclusion of any


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individuals other than Mahmoud Khalil, Mohsen Mahdawi, Rümeysa Öztürk, Yunseo Chung; and

Badar Khan Suri, given the Court’s May 22, 2025 Order that Plaintiffs’ discovery requests be

limited to inquiry into these five individual aliens. May 22, 2025 Hearing Transcript at 7-8, 10.

Defendants also object to the phrasing “targeted noncitizen” in that it implies that Defendants have

engaged in unlawful conduct. Further, Defendants object to discovery into any individuals not

party to this litigation, particularly non-party aliens not identified by Plaintiffs, non-party aliens

who fall outside the scope of the five “targeted noncitizens” narrowed by the court, and non-party

aliens who are subject to active litigation in immigration court or habeas proceedings before a U.S.

district court.

        Defendants object to Definition and Instruction No. 19 as overbroad because it demands

more information than is required under Fed. R. Civ. P 34 and Local Rule 34.1. Defendants also

object to the extent that the details requested may not be known about each document that is

withheld, in whole or in part, on the basis of privilege, or may be overly burdensome to identify.




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                                     DOCUMENT REQUESTS

REQUEST FOR PRODUCTION NO. 1: Documents and communications showing the
planning, execution and implementation of your decision to take any adverse action against a
Targeted Noncitizen Student or Faculty Member, including:
       a. Documents and communications relating to the planning and execution of the arrest and
       detention of Mahmoud Khalil;
       b. Documents and communications relating to the planning and execution of the arrest and
       detention of Mohsen Mahdawi.
       c. Documents and communications relating to the planning and execution of the arrest and
       detention of Rümeysa Öztürk.
       d. Documents and communications relating to the planning and execution of the arrest and
       detention of Yunseo Chung.
       e. Documents and communications relating to the planning and execution of the arrest and
       detention of Efe Ercelik;
       f. Documents and communications relating to the planning and execution of the arrest and
       detention to Mohammed Hoque;
       g. Documents and communications relating to the planning and execution of the arrest and
       detention of Ranjana Srinivasan;
       h. Documents and communications relating to the planning and execution of the arrest and
       detention of Badar Khan Suri; and
       i. Documents and communications relating to the planning and execution of the arrest and
       detention of Momodou Taal.

OBJECTIONS TO RFP NO. 1:

       Defendants incorporate here by reference their earlier “Objections Which Apply to All

Requests for Production.” Further, Defendants object to the extent that this request seeks

information regarding individual enforcement actions that are subject to law enforcement privilege

and deliberative process privilege, including communications between government officials

regarding the planning of enforcement actions against specific individuals, which the Court has

ruled need not be produced in this litigation. See June 2, 2025 Hearing Transcript at 32.

Defendants also object on the basis that this request is overbroad because it seeks discovery into

individuals not party to this litigation, particularly non-party aliens not identified by Plaintiffs, non-

party aliens who fall outside the scope of the five “targeted noncitizens” narrowed by the court, and

non-party aliens who are subject to active litigation in immigration court or habeas proceedings

before a U.S. federal court. Defendants object to the extent that, of the five “targeted noncitizens”


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narrowed by the Court, enforcement action was not taken against Yunseo Chung. Defendants also

object inasmuch as this request seeks information beyond the express limitations that the Court has

deemed relevant and appropriate here, and because the requests are unduly burdensome and not

proportional to the needs of the case. See June 2, 2025 Hearing Transcript at 31-33. Additionally,

the burden of producing these documents is not proportional to the needs of this accelerated Rule

65(a)(2) proceeding because, given the compressed timeframe as recognized by the Court,

discovery should be focused on the issues identified by the Court and those issues directly relevant

to the facts Plaintiffs must prove.

RESPONSE TO RFP NO. 1:

       Consistent with these objections and with the evidence the Court deemed relevant during

the June 2, 2025 hearing, Defendants will include, or already have included, in the administrative

record, or will otherwise produce to Plaintiffs non-privileged documents pertaining to the final

plans for, and implementation of, any enforcement actions taken in regard to the five “targeted

noncitizens” from January 20, 2025 to present. Defendants will produce a privilege log for any

produced documents requiring privilege redaction. These documents include:

       Department of State “Notification of Removability under INA 237(a)(4)(C)” for four

individuals, see CAR 018, 026, 041, 044; Department of State “Revocation of Visa” memo

regarding one individual, see CAR 034; Immigration court charging documents for four

individuals, see CAR 020, 023, 028, 036, 046; administrative arrest warrants for four individuals,

see CAR 025, 032, 040, 043; Notice of Custody Determination for one individual, see CAR 033.

Defendants will withhold from production five internal, predecisional Department of State memos

regarding specific individuals, which are subject to the deliberative process privilege in their

entirety, along with ICE referral memos regarding five individuals, and DHS, Homeland Security

Investigations (“HSI”) Profiles for five individuals, which are law enforcement sensitive.


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Defendants submitted these withheld documents, which to undersigned counsel’s knowledge have

not been disclosed or filed in any other litigation, in camera, ex parte, to the Court on June 11,

2025. Defendants will not produce any documents responding to RFP 1.e-1.i. See Dkt. 125 (court

order limiting data request to five individuals).




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REQUEST FOR PRODUCTION NO. 2: Documents and communications requesting or
recommending the taking of, and memorializing, explaining, or justifying the decision to take any
adverse action against a Targeted Noncitizen Student or Faculty Member, including:
       a. A document or documents in which the Department of Homeland Security (“DHS”)
       and/or U.S. Immigration and Customs Enforcement (“ICE”) requested or recommended that
       the U.S. Department of State revoke the visas of or determine the removability of a
       Targeted Noncitizen Student or Faculty Member. See Ozturk v. Trump, No. 25-CV-374,
       2025 WL 1145250, at *3 (D. Vt. Apr. 18, 2025) (describing request from DHS and ICE for
       revocation of Rümeysa Öztürk’s F-1 visa);
       b. A document or documents in which the State Department approved, explained, or
       justified the revocation of a Targeted Noncitizen Student’s or Faculty Members’s visa. See
       id.;
       c. A document or documents in which Secretary of State Marco Rubio determined that a
       Targeted Noncitizen Student or Faculty Member is removable under 8 U.S.C. §
       1227(a)(4)(C), and the attachments to any such determination. See, e.g., Khalil v. Joyce, No.
       25-CV-01963, 2025 WL 1232369, at *2 (D.N.J. Apr. 29, 2025);
       d. A document or documents in which the State Department informed DHS and/or ICE that
       it had approved the revocation of a Targeted Noncitizen Student or Faculty Member’s visa
       or determined the removability of a Targeted Noncitizen Student or Faculty Member; and
       e. Any Notice to Appear (Form I-862), administrative arrest warrant (Form I-200), or
       Record of Deportable/Inadmissible Alien (Form I-213) that has been issued or drafted as to
       any of the Targeted Noncitizen Students or Faculty Members.

OBJECTIONS TO RFP NO. 2:

       Defendants incorporate here by reference their earlier “Objections Which Apply to All

Requests for Production.” Further, Defendants object to the extent that this request seeks

information subject to law enforcement privilege and deliberative process privilege, including

communications between government officials regarding the planning of enforcement actions

against specific individuals, which the Court has ruled need not be produced in this litigation. See

June 2, 2025 Hearing Transcript at 32. This request is also overbroad because it seeks discovery

into individuals not party to this litigation, and particularly into non-party aliens not identified by

Plaintiffs, non-party aliens who fall outside the scope of the five “targeted noncitizens” narrowed

by the Court, and non-party aliens who are subject to active litigation in immigration court or

habeas proceedings before a U.S. federal court. Defendants object to the extent that, of the five

“targeted noncitizens” narrowed by the Court, enforcement action was not taken against Yunseo

Chung. Defendants also object to the extent that this request seeks information beyond the express

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limitations that the Court has deemed relevant and appropriate here. See June 2, 2025 Hearing

Transcript at 31-33. Additionally, the burden of producing these documents is not proportional to

the needs of this accelerated Rule 65(a)(2) proceeding because, given the compressed timeframe as

recognized by the Court, discovery should be focused on the issues identified by the court and

those issues directly relevant to the facts Plaintiffs must prove.

RESPONSE TO RFP NO. 2:

       Notwithstanding these objections, and consistent with the evidence the Court deemed

relevant during the June 2, 2025 hearing, Defendants will include or already have included in the

administrative record, or will otherwise produce, non-privileged documents pertaining to any

enforcement actions taken in regard to the five “targeted noncitizens” from January 20, 2025, to the

present. Defendants will produce a privilege log for any documents requiring privilege redaction.

These documents include:

       Department of State “Notification of Removability under INA 237(a)(4)(C)” for four

individuals, see CAR 018, 026, 041, 044; Department of State “Revocation of Visa” memo

regarding one individual, see CAR 034; Immigration court charging documents for four

individuals, see CAR 020, 023, 028, 036, 046; administrative arrest warrants for four individuals,

see CAR 025, 032, 040, 043; Notice of Custody Determination for one individual, see CAR 033;

Defendants will withhold from production five internal, predecisional Department of State memos

regarding specific individuals, which are subject to the deliberative process privilege in their

entirety, along with ICE referral memos regarding five individuals, and HSI Profiles for five

individuals, which are law enforcement sensitive. Defendants submitted these withheld documents,

which to undersigned counsel’s knowledge have not been disclosed or filed in any other litigation,

in camera, ex parte, to the Court on June 11, 2025.




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REQUEST FOR PRODUCTION NO. 3: The following documents and memoranda that
Plaintiffs have reason to believe are in Defendants’ possession based on the public record and that
are relevant to the adverse actions taken against the Targeted Noncitizen Students or Faculty:
        a. A memorandum from Secretary Rubio accusing Mohsen Mahdawi of engaging in
        “threatening rhetoric and intimidation of pro-Israeli bystanders.” Mahdawi v. Trump, No.
        25-CV-389, 2025 WL 1243135, at *10 (D. Vt. Apr. 30, 2025);
        b. A memorandum from Andre Watson (Senior Official, Homeland Security Investigations)
        to John Armstrong (Senior Bureau Official, Department of State) stating that Rümeysa
        Öztürk had engaged in “anti-Israel activism.” John Hudson, No Evidence Linking Tufts
        Student to Antisemitism or Terrorism, State Dept. Office Found, Wash. Po. (Apr. 13, 2025)
        https://perma.cc/KRB2-AVXF;
        c. A March 2025 State Department memorandum finding that neither DHS nor ICE nor
        Homeland Security Investigations had produced any evidence showing that Rümeysa
        Öztürk had engaged in antisemitic activity or made public statements indicating support for
        a terrorist organization. See id.;
        d. A document dated March 21, 2025 in which the State Department informed DHS that the
        revocation of Öztürk’s visa had been “approved.” See id.;
        e. An April 9, 2025 memorandum from the Deputy Assistant Secretary of State for Visa
        Services to ICE regarding the revocation of Efe Ercelik’s visa. Ercelik v. Hyde, No. 25-CV-
        11007, slip op. at 17 (D. Mass. May 8, 2025);
        f. A March 22, 2025 communication from DHS/ICE to the State Department seeking the
        Department’s determination as to whether Mohammed Hoque’s visa should be revoked.
        Hoque v. Trump, No. 25-cv-01576, slip op. at 4 (D. Conn. May 5, 2025); and
        g. A May 23, 2025 memorandum from the State Department informing DHS/ICE that
        Mohammed Hoque’s visa had been revoked. See id.

OBJECTIONS TO RFP NO. 3:

       Defendants incorporate here by reference their earlier “Objections Which Apply to All

Requests for Production.” Further, Defendants object to the extent that this request seeks

information subject to law enforcement privilege and deliberative process privilege, including

communications between government officials regarding the planning of enforcement actions

against specific individuals, which the Court has ruled need not be produced in this litigation. See

June 2, 2025 Hearing Transcript at 32. This request is also overbroad because it seeks discovery

into individuals not party to this litigation, and particularly into non-party aliens not identified by

Plaintiffs, non-party aliens who fall outside the scope of the five “targeted noncitizens” narrowed

by the court, and non-party aliens who are subject to active litigation in immigration court or

habeas proceedings before a U.S. federal court. Defendants object to the “have reason to believe”


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qualification, as Defendants are unaware of Plaintiff’s state of mind. Defendants object to the term

“possession” because it is not defined. Defendants object to “public record” as it is not a defined

term. Defendants object because the request assumes there is legal “relevance” to the case

allegations. Defendants object to the extent that, of the five “targeted noncitizens” narrowed by the

Court, enforcement action was not taken against Yunseo Chung. Defendants also object to the

extent that this request seeks information beyond the express limitations that the Court has deemed

relevant and appropriate here, and which are not relevant, unduly burdensome, and not proportional

to the needs of the case. See June 2, 2025 Hearing Transcript at 31-33. Additionally, the burden of

producing these documents is not proportional to the needs of this accelerated Rule 65(a)(2)

proceeding because, given the compressed timeframe as recognized by the Court, discovery should

be focused on the issues identified by the court and those issues directly relevant to the facts

Plaintiffs must prove.

RESPONSE TO RFP NO. 3:

       Consistent with these objections and with the evidence the Court deemed relevant during

the June 2, 2025 hearing, Defendants will include or already have included in the administrative

record, or will otherwise produce, non-privileged documents, to the extent they exist, pertaining to

any enforcement actions taken in regard to the five “targeted noncitizens” during the time period

January 20, 2025 to the present. Defendants will produce a privilege log for any documents

requiring privilege redaction. These documents include:

       Department of State “Notification of Removability under INA 237(a)(4)(C)” for a specific

individual, see CAR 026; “Revocations of Visa” memo regarding a specific individual, see CAR

034. Defendants will withhold from production the ICE referral memo referenced at 3.b, which is

law enforcement sensitive, along with the predecisional Department of State memo referenced at

3.c, which is subject to the deliberative process privilege. Defendants submitted these withheld


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documents, which to undersigned counsel’s knowledge have not been disclosed or filed in any

other litigation, in camera, ex parte, to the Court on June 11, 2025. Defendants will not produce

any requested documents in RFP 3.e-3.g because they pertain to individuals other than the 5

“targeted noncitizens.” See Dkt. 125 (court order limiting data request to five individuals).




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REQUEST FOR PRODUCTION NO. 4: Documents and communications with Betar US,
Canary Mission, and the Heritage Foundation concerning the Targeted Noncitizen Students or
Faculty Members.

OBJECTIONS TO RFP NO. 4:

       Defendants incorporate here by reference their earlier “Objections Which Apply to All

Requests for Production.” Defendants object to the extent that this request seeks information that is

not relevant and which goes beyond the express limitations that the Court has deemed relevant and

appropriate here. See June 2, 2025 Hearing Transcript at 31-33. Taking the allegations in

Plaintiffs’ complaint and briefing at face value, the correspondence sought, to the extent it even

exists, would be, at best, part of the discussion leading up to any final plan and would be pre-

decisional and not constitute final agency actions or policies.

       Defendants also object because this request is vague: It is unclear whether this request

seeks communications between Betar US, the Canary Mission, and the Heritage Foundation – of

which Defendants would be unaware. The discovery request is also not clear with whom Betar US,

Canary Mission, and the Heritage Foundation, have been communicating with. Defendants also

object because it is unclear what is being sought by the use of the terms “documents and

communications” in this request, which otherwise appears to be asking for only communications.

Additionally, to the extent the request seeks communications between an unspecified government

agency and Betar US, Canary Mission, and/or the Heritage Foundation, the burden of producing

any such documents is not proportional to the needs of this accelerated Rule 65(a)(2) proceeding.

To the extent that the documents and communications sought exist, Defendants further object

because the request is unduly burdensome and not proportional to the needs of the case to the

extent it seeks discovery into government agencies that are not parties and the Executive, who are

no longer a party to this case, and private individuals not party to this litigation. By connection,

Defendants object to the extent this request seeks production of documents from non-party


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agencies.

RESPONSE TO RFP NO. 4:

       Consistent with these objections, Defendants will not search for and will withhold any

responsive materials in its possession and control.




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REQUEST FOR PRODUCTION NO. 5: Communications, memoranda, policies, procedures,
and directives concerning the inspection, review, monitoring, or surveillance of noncitizens’ social
media accounts or activity for pro-Palestinian, anti-Semitic, anti-Zionist, pro-terrorist, pro-Hamas,
pro-Jihadist, or anti-Israel speech or activity, including:
       a. The State Department’s new guidance to consular officers on reviewing visa applicants’
       social media, referred to in paragraph 16 of the declaration from John Armstrong submitted
       in support of the government’s opposition to Plaintiffs’ preliminary injunction motion; and
       b. The Secretary of State’s communication to State Department employees on March 25,
       2025, titled “Enhanced Screening and Social Media Vetting for Visa Applicants.” Ken
       Klippenstein, Trump Admin Spies on Social Media of Student Visa Holders, Substack
       (Mar. 28, 2025), https://perma.cc/FV5L-MUNA; and

OBJECTIONS TO RFP NO. 5:

       Defendants incorporate here by reference their earlier “Objections Which Apply to All

Requests for Production.” Defendants object to the extent that this request is overbroad and seeks

information that is not relevant and which goes beyond the express limitations that the Court has

deemed relevant and appropriate here. See June 2, 2025 Hearing Transcript at 31-33.

       Defendants also object because Plaintiffs’ request is vague and overbroad: “pro-

Palestinian,” “anti-Semitic,” “anti-Zionist,” “pro-terrorist,” “pro- Hamas,” “pro-Jihadist,” or “anti-

Israel” are vague and ambiguous not defined terms. Defendants object because the request does not

identify the persons/parties who allegedly directed any “inspection, review, monitoring, or

surveillance;” the request appears to have no limit as to agency or personnel, including the

Executive, who is no longer a party to this case and for whom there are specific privileges.

       Defendants further object to the extent that the request seeks law enforcement privileged

information and is not proportional to the needs of this accelerated Rule 65(a)(2) proceeding. And

Defendants object because the request is unduly burdensome and not proportional to the needs of

the case to the extent it seeks discovery into government agencies that are not parties and the

Executive, who is no longer a party to this case, and private individuals not party to this litigation.

By connection, Defendants object to the extent this request seeks production of documents from

non-party agencies.


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RESPONSE TO RFP NO. 5:

       Consistent with these objections and with the evidence the Court deemed relevant during

the June 2, 2025 hearing, Defendants have included in the administrative record and may provide

additional documents, redacted for law enforcement privilege, embodying the guidance given to

consular officers regarding social media vetting protocols, including the following documents:

       Department of State Cable 26168, “Enhanced Screening and Social Media Vetting for Visa

Applicants,” see CAR 012;




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REQUEST FOR PRODUCTION NO. 6: Memoranda, policies, procedures, directives or
guidance concerning the implementation or enforcement of Executive Orders 14,161 and 14,188
related to the revocation of visas or green cards, or the surveillance, arrest, detention, or deportation
of noncitizen students or faculty members for pro-Palestinian, anti-Semitic, anti-Zionist, pro-
terrorist, pro-Hamas, pro-Jihadist, or anti-Israel speech or activity, including:
        a. Any reports issued by the Attorney General, the Secretary of State, the Secretary of
        Education, and the Secretary of Homeland Security pursuant to Section 3(a) of Executive
        Order 14,188; and
        b. Communications from the State Department to Covered Institutions directing them to
        report international students for participating in “proscribed antisemitic actions,” “terrorist
        activity,” or “endorsing or espousing terrorism.” Prem Thaker, SCOOP: Trump Admin
        Forcing Schools to Report International Students for Protest Activity or ‘Antisemitic
        Actions,’ Zeteo (May 16, 2025), https://perma.cc/XD4N-BSZC.

OBJECTIONS TO RFP NO. 6:

        Defendants incorporate here by reference their earlier “Objections Which Apply to All

Requests for Production.”

        Defendants also object because Plaintiffs’ request is vague and overbroad: “pro-

Palestinian,” “anti-Semitic,” “anti-Zionist,” “pro-terrorist,” “pro- Hamas,” “pro-Jihadist,” or “anti-

Israel” are vague and ambiguous and not defined terms.

        Defendants object because this request seeks discovery from non-parties to this litigation

that goes far beyond that permitted by the Court. See June 2, 2025 Hearing Transcript at 31-33. By

connection, Defendants object to the extent this request seeks production of documents from non-

party agencies. Additionally, the burden of producing these documents is not proportional to the

needs of this accelerated Rule 65(a)(2) proceeding and not likely probative of the facts at issue in

this case.

RESPONSE TO RFP NO. 6:

        Consistent with these objections, and consistent with the evidence the Court deemed

relevant during the June 2, 2025 hearing, Defendants already have included, or will include, in the

administrative record documents redacted for law enforcement privilege pertaining to the

Department of State’s implementation of Executive Orders 14,161 and 14,188 as related to the


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scope of discovery set out by the Court. These documents include: Department of State Cable

26168, “Enhanced Screening and Social Media Vetting for Visa Applicants,” see CAR 012;




             . Defendants will withhold from production a March 20, 2025 report submitted by

the Department of State to the White House in accordance with E.O. 14188 Sec. 3, identifying

authorities to counter anti-semitism. Defendants submitted this withheld document, which is

subject to the Presidential Communications Privilege, in camera, ex parte, to the Court on June 11,

2025.




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       REQUEST FOR PRODUCTION NO. 7: Communications with Covered Institutions
       concerning non-citizen students or faculty members who have been accused or suspected of
       engaging in speech or activities deemed or suspected to be pro-Palestinian, anti-Semitic,
       anti-Zionist, pro-terrorist, pro-Hamas, pro-Jihadist, or anti-Israel, including the list of
       students provided by DHS to Columbia University that was referenced by White House
       Press Secretary Karoline Leavitt in her press briefing on March 11, 2025.


OBJECTIONS TO RFP NO. 7:

       Defendants incorporate here by reference their earlier “Objections Which Apply to All

Requests for Production.”

       Defendants also object to this request as it overbroad and seeks information that is not

relevant to this case as it seeks government communications with non-parties uninvolved in the

underlying litigation and for whom there are no allegations that they are involved in decision

making associated with determining how the Executive Orders are implemented. Although also not

relevant, there is no allegation that the Covered Institutions participate in implementing the

Executive Orders, to the contrary the Complaint alleges that after receiving a list of names,

Columbia University refused to help DHS identify those individuals on campus. Compl. ¶ 44.

       Defendants also object because Plaintiffs request is vague and overbroad: “pro-

Palestinian,” “anti-Semitic,” “anti-Zionist,” “pro-terrorist,” “pro- Hamas,” “pro-Jihadist,” or “anti-

Israel” are vague and ambiguous and not defined terms.

       Defendants also object because it is unclear whose communications are being sought and

could include government agencies not parties to this litigation, the President, who is no longer a

party to this litigation and subject to the presidential communications privilege. By connection,

Defendants object to the extent this request seeks production of documents from non-party

agencies. Defendants also object to the extent this request seeks communications among the

Covered Institutions — of which Defendants would be unaware and/or not have responsive

documents in their custody and control.


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       Defendants also object to the extent that this request seeks information that is not relevant

and unduly burdensome because it goes beyond the express limitations that the Court has deemed

relevant and appropriate here. See June 2, 2025, Hearing Transcript at 31-33. Additionally, to the

extent the request seeks communications between an unspecified government agency and the

Covered Institutions, the burden of producing any such documents is not proportional to the needs

of this accelerated Rule 65(a)(2).

RESPONSE TO RFP NO. 7:

       Notwithstanding the foregoing objections, to date, Defendants have not identified any

communications or lists of students shared with covered institutions within their departments.




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Respectfully Submitted,

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